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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                                      REPORT & RECOMMENDATION
                          Plaintiff,
                                                                      11-CR-6083CJS
                 v.

GORDON MONTGOMERY,

                          Defendant.




                                       PRELIMINARY STATEMENT

                 By Order of Hon. Charles J. Siragusa, United States District Judge, dated May 2,

2011, all pretrial matters in the above captioned case have been referred to this Court pursuant to

28 U.S.C. §§ 636(b)(1)(A)-(B). (Docket # 2).

                 Defendant Gordon Montgomery (“Montgomery”) has been charged in one count

of a seven-count indictment returned against him and co-defendants Robert W. Moran, Jr.

(“Moran”), James Henry McAuley, Jr. (“McAuley”), Gina Tata (“Tata”), Richard E. Riedman

(“Riedman”), Timothy M. Stone (“Stone”), Richard W. Mar (“Mar”), Donna Boon (“Boon”),

Jeffrey A. Tyler (“Tyler”) and Paul S. Griffin1 (“Griffin”). (Docket # 126). The first count of the

superseding indictment charges McAuley, Mar, Boon, Riedman, Montgomery, Tyler and Griffin

with conspiring between the years 2002 and 2010 to possess with intent to distribute and to

distribute methamphetamine, in violation of 21 U.S.C. § 846. (Id. at 2).




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           Griffin pled guilty to the charge against him and was sentenced on March 25, 2013. (Docket # 392).
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                    Currently pending before the Court is Montgomery’s motion to suppress

statements,2 as to which this Court conducted an evidentiary hearing on March 1, 2013. (Docket

## 312, 387, 399). For the reasons discussed below, I recommend that the district court deny

Montgomery’s motion to suppress statements.



                                          FACTUAL BACKGROUND

Montgomery’s Arrest on February 28, 2012

                    This Court conducted an evidentiary hearing on March 1, 2013 concerning the

circumstances surrounding Montgomery’s arrest and the statements made by him following his

arrest. (Docket # 387).3 The government offered testimony of two agents employed by the

Federal Bureau of Investigation (“FBI”), Curt Braselton (“Braselton”) and Michael Preisser

(“Preisser”). (Tr. 3, 55). Montgomery also testified during the hearing.

         A. Testimony of Braselton

                    Braselton testified that he had been employed as a special agent with the FBI for

approximately three years. (Tr. 4). On February 23, 2012, Braselton was assigned to assist with

the execution of an arrest warrant for Montgomery. (Tr. 5). According to Braselton, he met with



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            Montgomery’s omnibus motion also sought, inter alia, discovery and inspection, Brady material, Jencks
material, a bill of particulars, joinder in the pretrial motions of co-defendants, an audibility hearing, identification of
informants, preservation of rough notes, a Rule 12(b)(4)(B) notice, in camera inspection of pre-sentencing reports,
voir dire of government’s experts, suppression of identification evidence, suppression of wiretap conversations and
severance. (Docket ## 23, 25). On November 26, 2013, this Court recommended that the district court deny
Montgomery’s motion for severance. (Docket # 441). In addition, on January 10, 2013, this Court granted
Montgomery’s request to withdraw his motion to suppress wiretap evidence. (Docket # 355). Each of
Montgomery’s remaining requests were either resolved by the parties or decided in open court by the undersigned on
December 4, 2012. (Docket ## 332, 333).
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             The transcript of the March 1, 2013 hearing shall be referred to as “Tr. __.” (Docket # 387).

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Preisser and other agents at approximately 7:00 a.m. that morning. (Tr. 26). Braselton testified

that the agents learned that Montgomery was located at 98 Downing Street, Lackawanna, New

York, after speaking with an individual who resided at that address, Edward Wheeler

(“Wheeler”). (Tr. 5-6, 34). At the agents’ request, Wheeler met them nearby and accompanied

the agents to 98 Downing Street. (Tr. 6, 34).

               When they arrived, Wheeler led the agents up a staircase into the apartment. (Tr.

6-7). Braselton entered the apartment first, followed by Preisser and at least one, possibly two,

other agents. (Tr. 7, 24, 35-36). At approximately 4:48 p.m., Braselton entered with his gun

drawn, observed Montgomery on a couch in the living room, but did not point his gun at him.

(Tr. 6-7, 36). The agents announced that they were with the FBI and that Montgomery was under

arrest, and Braselton handcuffed Montgomery. (Tr. 7). Braselton testified that although

Montgomery seemed surprised, he remained calm and relaxed during the arrest. (Tr. 8).

According to Braselton, the agents retrieved a sweatshirt for Montgomery to wear and gathered

his medication from the coffee table. (Id.). After learning that Montgomery had recently

undergone surgery, Braselton assisted him down the stairs. (Tr. 9, 42). When they were outside,

the agents allowed Montgomery to have a cigarette. (Tr. 8-9).

               Montgomery was placed in the back seat of an unmarked police vehicle; Braselton

sat next to him, and Preisser sat in the driver’s seat. (Tr. 9). According to Braselton, Preisser

explained to Montgomery the charges on which he had been arrested. (Tr. 10). Preisser told

Montgomery not to make any statements until after he had been advised of his rights. (Id.).

Braselton testified that he did not recall that before Montgomery was read his Miranda warnings

any of the agents advised him that it would be in his best interests to cooperate. (Tr. 42-45).


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Braselton also testified that Preisser may have provided Montgomery with a copy of the arrest

warrant. (Tr. 45-48).

                   According to Braselton, Preisser then provided Montgomery with an “Advice of

Rights” form setting forth the Miranda rights.4 (Tr. 10-11). Braselton placed the form on

Montgomery’s lap, instructed him to initial each right after it was read, and then began to read

the form aloud to Montgomery. (Id.). After reading aloud the initial part of the form, Braselton

instructed Montgomery to read the remainder of the rights aloud. (Tr. 11). According to

Braselton, either he or Montgomery read aloud each right listed on the form. (Tr. 11, 16).

Montgomery placed his initials on the form after each line was read. (Tr. 12, 17-18). The last

line of the form stated, “I have read this statement of my rights and I understand what my rights

are. At this time, I am willing to answer questions without a lawyer present.” (G. Ex. 1). After

Montgomery was done, Braselton asked him if he would sign the form, which he did. (Tr. 12).

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            The rights which were typewritten at the top of the written statement provided as follows:

                   Before we ask you any questions, you must understand your rights.

                   You have the right to remain silent.

                   Anything you say can be used against you in court.

                   You have the right to talk to a lawyer for advice before we ask you any
                   questions.

                   You have the right to have a lawyer with you during questioning.

                   If you cannot afford a lawyer, one will be appointed for you before any
                   questioning if you wish.

                   If you decide to answer questions now without a lawyer present, you have the
                   right to stop answering at any time.

                   I have read this statement of my rights and I understand what my rights are.
                   At this time, I am willing to answer questions without a lawyer present.

(Government’s Exhibit (“G. Ex.”) 1).

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At 5:08 p.m., Montgomery and Braselton signed the form, and Montgomery recorded the time at

the bottom of the form. (Tr. 12-13). According to Braselton, Montgomery was able to read the

rights out loud without difficulty and did not ask any questions about his rights. (Tr. 11-14).

               Braselton testified that neither he nor Preisser asked Montgomery any questions

prior to Montgomery’s execution of the rights form. (Tr. 19-20). In addition, Braselton did not

recall Montgomery making any statements prior to signing the form. (Id.). Although Braselton

did recall that the name “Nixon” came up after Montgomery executed the form, he did not

remember that it arose in the context of a “test question.” (Tr. 46-47, 54).

               According to Braselton, during the ride to Rochester, they stopped at a fast food

restaurant to allow Montgomery to get something to eat. (Tr. 19). After they arrived in

Rochester, they stopped briefly at the FBI office and then transported Montgomery to the jail.

(Id.). When he was booked into the jail, Preisser executed the Advice of Rights form at

approximately 7:30 p.m. (Tr. 18, 30). The two agents then discussed the arrest, and Preisser

made notes about his interview of Montgomery. (Tr. 23-24, 27, 30-31). Preisser used those

notes to prepare a Form 302 report approximately four days later. (Tr. 27-29).

       B. Testimony of Preisser

               Preisser testified that he had been employed as a special agent with the FBI for

approximately seventeen years and had participated in at least one hundred arrests. (Tr. 55,

62-63). According to Preisser, he was working on an investigation of a drug trafficking

conspiracy involving Montgomery in February 2012. (Tr. 56). On February 23, 2012, Preisser

was assigned to execute an arrest warrant for Montgomery that was issued on a federal

indictment arising from the investigation. (Tr. 56-57). According to Preisser, the agents initially


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had difficulty locating Montgomery, but eventually learned that he was staying with Wheeler at

98 Downing Street. (Tr. 58-59). The agents contacted Wheeler by telephone and requested his

assistance. (Tr. 58-59, 73-74). Wheeler agreed and escorted Preisser, Braselton and at least two

other agents to his apartment. (Tr. 59, 68, 74-75).

               According to Preisser, at approximately 4:45 p.m., the agents entered the

apartment with their guns drawn and encountered Montgomery. (Tr. 69, 75). In accordance with

their usual protocol, they likely pointed their weapons at Montgomery until he was handcuffed.

(Tr. 75). Montgomery was escorted from the residence and into the back seat of an unmarked

FBI vehicle. (Tr. 59). According to Preisser, he did not recall during that series of events that

any agents discussed or mentioned cooperation with Montgomery. (Tr. 78-79).

               Preisser testified that he sat in the driver’s seat of the vehicle, and Braselton sat in

the back with Montgomery. (Tr. 59-60, 75-76). Preisser testified that it was his customary

practice when making an arrest to advise the arrestee not to speak, but simply to listen to him.

(Tr. 61). He testified that he typically continues by describing the charges and the seriousness of

them, explaining that the agents have “very good evidence” and then advising the arrestee that “it

would be to your benefit to cooperate with us.” (Tr. 61-62). Preisser testified that, consistent

with his usual practice, he either provided Montgomery with a copy of the arrest warrant or read

the charges aloud to him and explained the benefits of cooperation, but that he did not promise

anything in exchange for Montgomery’s cooperation. (Tr. 60-61, 63, 66, 79-80).

               Preisser testified that he did not recall that Montgomery said anything while

Preisser described the charges. (Tr. 61, 63). According to Preisser, after he finished explaining

the charges, he overheard Montgomery read each of the Miranda warnings out loud. (Tr. 64, 83).


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Preisser then began questioning Montgomery about the investigation. (Tr. 65). Preisser testified

that prior to the administration of the Miranda warnings, he did not ask Montgomery any

questions. (Id.).

               During the questioning, Preisser asked Montgomery whether he was known as

“Nixon,” but did not recall whether he used the phrase “test question” in association with that

subject. (Tr. 65, 80-81, 87). Preisser testified that he asked about Nixon only after Montgomery

had waived his Miranda rights. (Id.). Preisser recalled that Montgomery indicated that he had

made trips to the west coast, but that the topic was not raised until after Miranda. (Tr. 81-82).

According to Preisser, throughout the interview, Montgomery appeared to understand the

questions, responded to them, and did not ask for a lawyer or invoke his right to remain silent.

(Tr. 65-66).

       C. Testimony of Montgomery

               Montgomery testified that on the afternoon of February 23, 2012, he was arrested

by approximately four FBI agents at 98 Downing Street. (Tr. 94-95, 97). According to

Montgomery, when Braselton and Preisser encountered him in the apartment, they both pointed

their guns at him. (Tr. 94-95). Montgomery testified that he was handcuffed and escorted from

the apartment into a vehicle. (Tr. 97).

               During the escort to the car, Montgomery recalled that one of the agents told him

that it would be in his “best interest to cooperate or to help [him]self, something to that matter.”

(Id.). Montgomery also testified that after he was placed in the car, he was again advised that it

would be in his best interests to cooperate. (Tr. 98-99). Montgomery believed that he was

advised to cooperate at least three times prior to receiving Miranda warnings, but conceded that


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he was not promised anything in return for his cooperation. (Tr. 106). According to

Montgomery, he asked the agents why he was being arrested. (Tr. 99). He recalled being shown

a document that indicated that he was being charged with distribution of narcotics. (Id.).

               Montgomery testified that prior to Miranda, Preisser told Montgomery that he

was going to pose a “test question” to determine whether Montgomery was being truthful;

Preisser then asked him whether he had ever been referred to as “Nixon.” (Tr. 100-03).

Montgomery initially responded no, but quickly corrected his answer and informed the agents

that he had been called Nixon several times. (Tr. 102-03, 105). Montgomery also testified that

prior to being advised of his Miranda rights, he made a comment about making trips to

California. (Tr. 102-03). Montgomery testified that neither Braselton or Preisser had asked him

about his travel when he made the comment. (Tr. 103-04).

               Montgomery testified that he was shown a Miranda form and acknowledged that

he read the rights, placed his initials next to each right, understood each right, and agreed to

answer the agents’ questions. (Tr. 101, 105-06, 110). Montgomery further testified that he had

previously been convicted of six felonies, including possession of a forged instrument in the

second degree, identify theft, criminal possession of stolen property, burglary and attempted

burglary. (Tr. 107-09). According to Montgomery, he had been arrested and advised of his

Miranda rights in connection with each of his prior convictions and had exercised his right to

remain silent on at least one prior occasion. (Tr. 109-10).




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                                                DISCUSSION

                 Montgomery seeks to suppress all statements he made after his arrest on February

23, 2012. (Docket # 399). According to Montgomery, he made two statements to Preisser and

Braselton prior to being advised of his Miranda rights: a comment concerning “trips to the West

Coast” and a response to a “test question” concerning whether he had ever been known as

“Nixon.”

                  According to Montgomery, Preisser violated his Fifth and Sixth Amendment

rights by asking him the “test question” without first advising him and obtaining a waiver of his

Miranda rights.5 Montgomery also argues that Preisser’s recitation of the charges and evidence

against him, coupled with the advice that it would be in his interest to cooperate, constituted both

the functional equivalent of interrogation in violation of the Fifth Amendment and the deliberate

elicitation of information in violation of the Sixth Amendment. For these reasons, Montgomery

contends, the statements he made prior to the administration of Miranda warnings must be

suppressed. He also maintains that all of his post-Miranda statements should be suppressed as

fruit of the pre-Miranda Fifth and Sixth Amendment violations. (Id. at 16). Finally,

Montgomery urges the Court to reject the agents’ testimony in view of discrepancies between

their versions of events, as well as their inability to recall certain details.




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           Montgomery’s post-hearing memorandum does not make clear whether he still contends that the agents
expressly interrogated him prior the administration of the Miranda warnings. (Docket # 399 at ¶¶ 3, 34). On the one
hand, the memorandum states that there is no dispute that “no questions were asked of the defendant before the
execution by him of the Miranda” form, but on the other hand states that “[t]he parties differ however as to whether
the defendant was asked whether he was ever known as ‘Nixon’ before being advised of his Miranda rights.” (Id.).
The Court will construe the motion to include the contention that Montgomery was explicitly questioned prior to the
administration of Miranda warnings.

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               The government disputes that Montgomery made any pre-Miranda statements.

(Docket # 407 at 9). According to the government, Braselton and Preisser both testified that both

the statements about the name “Nixon” and Montgomery’s trips to the west coast were made

after Montgomery was advised of and waived his Miranda rights. (Id. at 9-10). In any event,

according to the government, neither agent explicitly interrogated Montgomery, nor did Preisser

violate the Fifth or Sixth Amendments by reciting the charges and evidence against him or by

advising him to cooperate. (Id. at 8-10).



I. Montgomery’s Fifth Amendment Challenge

               Statements made during custodial interrogation are generally inadmissible unless

a suspect first has been advised of his rights pursuant to Miranda v. Arizona, 384 U.S. 436

(1966). In Miranda, the Supreme Court held that the prosecution may not use a defendant’s

statements that are the product of custodial interrogation unless it demonstrates that the

defendant was first warned of his Fifth Amendment privilege against self-incrimination and then

voluntarily waived that right. Miranda v. Arizona, 384 U.S. at 444. Accordingly, “[e]ven absent

the accused’s invocation of [his rights], the accused’s statement during a custodial interrogation

is inadmissible at trial unless the prosecution can establish that the accused in fact knowingly and

voluntarily waived [Miranda] rights when making the statement.” United States v. Plugh, 648

F.3d 118, 127 (2d Cir. 2011) (alteration in original) (quoting Berghuis v. Thompkins, 130 S. Ct.

2250, 2260 (2010)), cert. denied, 132 S. Ct. 1610 (2012). To establish a valid waiver, the

government must prove by a preponderance of the evidence that (1) the waiver was “knowing” –

namely, that it was “made with a full awareness of both the nature of the right being abandoned


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and the consequences of the decision to abandon it,” and (2) it was “voluntary” – namely, “that it

was the product of a free and deliberate choice rather than intimidation, coercion or deception.”

Id. (quoting Moran v. Burbine, 475 U.S. 412, 421 (1986)).

               In examining whether a statement was made voluntarily, a court must consider the

totality of the circumstances in which it was given “to determine whether the government agents’

conduct ‘was such as to overbear [a defendant’s] will to resist and bring about [statements] not

freely self-determined.’” United States v. Kaba, 999 F.2d 47, 51 (2d Cir.) (quoting United States

v. Guarno, 819 F.2d 28, 30 (2d Cir. 1987) (citations omitted)), cert. denied, 510 U.S. 1003

(1993). In evaluating the totality of the circumstances, the court must assess: “(1) the

characteristics of the accused, (2) the conditions of the interrogation, and (3) the conduct of law

enforcement officials.” United States v. Awan, 384 F. App’x 9, 14 (2d Cir. 2010) (quoting Green

v. Scully, 850 F.2d 894, 901-02 (2d Cir.), cert. denied, 488 U.S. 945 (1988)), cert. denied, 131

S. Ct. 969 (2011). Where circumstances suggest evidence of “brutality, [p]sychological duress,

threats, [or] unduly prolonged interrogation,” statements will be deemed involuntary. United

States v. Moore, 670 F.3d 222, 233 (2d Cir.) (alteration in original) (quoting United States v.

Verdugo, 617 F.3d 565, 575 (1st Cir. 2010), cert. denied, 131 S. Ct. 954 (2011)), cert. denied,

133 S. Ct. 48 (2012).

               Here, the government does not contest that Montgomery was in custody at the

time he made the statements in question. Rather, the question is whether Montgomery was

advised of and validly waived his Miranda rights prior to providing the statements. The record

before this Court, including the testimony of Agents Preisser and Braselton, which I credit,

demonstrates that Montgomery was advised of his Miranda rights and voluntarily agreed to


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waive them prior to making any statements. Although the parties dispute whether Preisser’s

statements to Montgomery prior to the administration of the Miranda warnings constituted the

equivalent of interrogation, I conclude that I need not reach that issue because Montgomery’s

statements were made only after the Miranda warnings were administered and he waived his

rights.6

                  Both Preisser and Braselton testified that Montgomery was not asked any

questions by the agents until after he was informed of his Miranda rights and had agreed to talk

to the agents. Further, neither agent recalled Montgomery being asked a “test question,” but both

agents recalled Montgomery being asked about the name “Nixon” after the Miranda advisement

and waiver. Further, neither agent recalled Montgomery making any pre-Miranda statements,

and Preisser specifically recalled that Montgomery’s statements concerning trips to the west

coast occurred after Montgomery had executed the rights form.

                  Montgomery urges the Court to conclude that the agents’ testimony is unreliable

based upon a few inconsistencies between the agents’ recollections and their inability, especially

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             To the extent Montgomery argues that the statements he made during the interview that was conducted
after he executed the Miranda form were tainted by his pre-Miranda statements, such argument is unavailing in light
of my conclusions that Montgomery did not make any pre-Miranda statements and that his statements to the agents
were otherwise voluntary. See Vasquez v. Senkowski, 1999 WL 359760, *6 (S.D.N.Y. 1999) (“petitioner is not
automatically entitled to suppression of the statements he made to detectives after he was advised of the Miranda
warnings simply because the initial questioning of him commenced before Miranda warnings were administered [;]
. . . the admissibility of petitioner’s post-Miranda statements turns on whether the circumstances surrounding the
detectives’ initial questioning of petitioner ‘were so coercive as to prevent him from making a subsequent knowing
and voluntarily waiver of his rights, thereby requiring suppression of his ... warned confession’”) (quoting Tankleff v.
Senkowski, 135 F.3d 235, 242 (2d Cir. 1998)); see also McMillon v. Culley, 380 F. App’x 63, 66 (2d Cir.)
(admission of post-Miranda statements proper where the defendant’s pre-Miranda statements were not inculpatory),
cert. denied, 131 S. Ct. 426 (2010); see also White v. Bellnier, 2011 WL 6780995, *6 (E.D.N.Y. 2011) (admission
of post-Miranda statements proper where petitioner made no incriminating statements prior to Miranda waiver and
where “the circumstances surrounding petitioner’s post-Miranda confession and the entire course of police conduct
support a conclusion that petitioner’s incriminating statements were voluntarily made”); see also United States v.
Fellers, 397 F.3d 1090, 1096 (8th Cir.) (violation of 6th Amendment right to counsel does not automatically require
suppression of statements made after informed waiver of right to counsel), cert. denied, 546 U.S. 933 (2005),
abrogated on other grounds as recognized by United States v. Thorpe, 447 F.3d 565, 569 n.3 (8th Cir. 2006).

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Braselton’s, to recall some of the details of the arrest and interview of Montgomery. Having

carefully reviewed and evaluated the testimony of both agents, I find their testimony credible and

reliable. I find it unremarkable that Braselton, who was not involved in the investigation and was

merely assisting with the arrest, was unable to recall some of the details of the arrest, including

what time the agents initially met that day, what they were wearing, whether their holsters were

visible, whether the team had visited the premises earlier in the day, and who escorted

Montgomery from the apartment.

               In addition, I find that many of the purported inconsistencies between Preisser’s

and Braselton’s recollections are not necessarily inconsistencies. For instance, Montgomery

contends that Braselton testified that he did not point his service weapon at Montgomery, while

Preisser testified that Braselton did. (Docket # 399 at ¶ 31). A review of Preisser’s testimony,

however, reveals that Preisser was equivocal as to whether both agents had pointed their guns at

Montgomery, testifying that he was “pretty sure” that they both had aimed their guns at the

defendant because “that is the standard operating procedure.” (Tr. 75). The only evident

inconsistency identified by Montgomery relates to their testimony concerning who read aloud the

Miranda warnings. Braselton testified that he read at least the first right out loud, and Preisser,

by contrast, testified that Montgomery had read each of the rights out loud. This inconsistency

“do[es] not materially affect the analysis of the issues presented in th[is] suppression motion and,

in any event, [is] not uncommon when two witnesses testify about the same course of events.”

See United States v. Sinclair, 2013 WL 6148078, *6 n.4 (W.D.N.Y. 2013).

               On the record before me, I find that Montgomery was properly advised of his

Miranda rights and voluntarily waived them before speaking to the agents. Specifically,


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Braselton testified that he read aloud to Montgomery the first of the Miranda warnings from a

rights form and asked Montgomery to read the remaining rights and to place his initials after each

right. Montgomery completed reading the entire form out loud, initialed after each right, and

executed the form. Montgomery also testified that he read the rights on the form, initialed after

each right and executed the form. In addition, Montgomery admitted that he understood the

rights, including the right to refuse to answer any questions, and agreed to answer the agents’

questions. During the subsequent interview, Montgomery did not request an attorney or that the

questioning cease.

               Although the circumstances of the officers’ entry into the apartment that day may

have been intimidating, those circumstances, without more, do not render Montgomery’s

statements involuntary. See United States v. Laidlaw, 2010 WL 382551, *6 (D. Conn. 2010)

(“[a]lthough being arrested by officers who have their weapons drawn is intimidating, ‘the fact

that a person is in custody or has been subjected to a display of force does not automatically

preclude a finding of voluntariness’”) (quoting United States v. Snype, 441 F.3d 119, 131 (2d

Cir.), cert. denied, 549 U.S. 923 (2006)). After the entry, the officers holstered their weapons,

gathered Montgomery’s sweatshirt and medications, and assisted Montgomery down the stairs.

Once outside, Montgomery was permitted to have a cigarette prior to being placed in the police

vehicle. The interview of Montgomery was conducted in the police vehicle during the drive to

Rochester after Montgomery was advised of his Miranda rights and executed the rights form,

which occurred approximately twenty minutes after Montgomery’s arrest. At some point during

the trip, the agents stopped at a fast food restaurant to allow Montgomery to eat. The entire trip

took approximately two and a half hours. On this record, I conclude that Montgomery’s waiver


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of his Miranda rights was voluntary. See United States v. Phillips, 2009 WL 1918931, *2-3

(N.D. W. Va. 2009) (statement and consent were voluntary where “any guns which were drawn

had been holstered well prior to the interview, the accused had been moved to a police car with

only three officers present, and the surprise of the arrest had somewhat dissipated”). The fact

that Preisser advised Montgomery of the charges against him, the potential sentence under the

guidelines and that it was in his interests to cooperate does not undermine my conclusion that

Montgomery’s waiver and subsequent statements were voluntary. See United States v. Ruggles,

70 F.3d 262, 265 (2d Cir. 1995) (“statements to the effect that it would be to a suspect’s benefit

to cooperate are not improperly coercive”), cert. denied, 516 U.S. 1182 (1996); United States v.

Bye, 919 F.2d 6, 9-10 (2d Cir. 1990) (“we are unconvinced that the mere mention of the possible

sentence facing a defendant and the benefits to be derived from cooperation converts an

otherwise proper encounter between the police and the accused into a coercive and overbearing

experience”).

                In sum, I find that Montgomery was properly advised of his Miranda rights and

knowingly and voluntarily waived those rights before making any statements. Accordingly, it is

my recommendation that Montgomery’s motion to suppress statements on the grounds that they

were made in violation of his Fifth Amendment rights be denied.



II. Montgomery’s Sixth Amendment Challenge

                A defendant’s right to counsel under the Sixth Amendment attaches “at the

‘initiation of adversary judicial proceedings,’ such as the filing of an indictment.” United States

v. Yousef, 327 F.3d 56, 140 (2d Cir.) (quoting United States v. Gouveia, 467 U.S. 180, 188


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(1984); United States v. Abdi, 142 F.3d 566, 569 (2d Cir. 1998)), cert denied, 124 S. Ct. 353

(2003); see Fellers v. United States, 540 U.S. 519, 523 (2004) (Sixth Amendment is “triggered at

or after the time that judicial proceedings have been initiated”) (quoting Brewer v. Williams, 430

U.S. 387, 398 (1977)). “Once the right has attached, the Sixth Amendment renders inadmissible

in the Government’s case-in-chief statements elicited by the Government outside the presence of

a defendant’s counsel that are not accompanied by a waiver of this right.” United States v.

Yousef, 327 F.3d at 140 (citing United States v. Henry, 447 U.S. 264, 273-74 (1980)). As

reiterated recently by the Supreme Court, “[a]n accused is denied ‘the basic protections’ of the

Sixth Amendment ‘when there [is] used against him at his trial evidence of his own incriminating

words, which federal agents ... deliberately elicited from him after he had been indicted and in

the absence of his counsel.” Fellers v. United States, 540 U.S. at 523 (quoting Massiah v. United

States, 377 U.S. 201, 206 (1964)). This Sixth Amendment “deliberate-elicitation” standard is

distinguishable from the “custodial-interrogation” standard utilized in a Fifth Amendment

analysis. Id. at 524.

               It is equally well-established, of course, that a defendant may validly waive his

Sixth Amendment rights. Patterson v. Illinois, 487 U.S. 285, 296 (1988) (“As a general matter,

then, an accused who is admonished with the warnings prescribed by this Court in Miranda . . .

has been sufficiently apprised of the nature of his Sixth Amendment rights, and of the

consequences of abandoning those rights, so that his waiver on this basis will be considered a

knowing and intelligent one”); Yousef, 327 F.3d at 140 (“It is settled law, however, that the

attachment of the Sixth Amendment right to counsel, by itself, does not preclude a defendant

from validly waiving his right to counsel”).


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               No question exists that Montgomery’s Sixth Amendment rights had attached at

the time of his arrest. The indictment charging Montgomery was returned and filed on February

16, 2012. (Docket # 126). His arrest and interview occurred approximately one week later, on

February 23, 2012. (Tr. 4-5). Accordingly, the sole question before this Court is whether

Montgomery had validly waived his Sixth Amendment rights prior to making the challenged

statements. I find that he had.

               As discussed more fully above, Montgomery was provided a copy of a Miranda

warnings and waiver form, and it was read out loud in its entirety either by him or by Braselton.

The form specifically advised Montgomery that he had the right to talk to an attorney before

questioning and to have an attorney present. (G. Ex. 1). Montgomery was also advised that an

attorney would be appointed for him if he could not afford one and that he had the right to stop

the questioning at any time if he decided that he desired the assistance of counsel. (Id.).

Montgomery placed his initials after each right, executed the form, and testified that he

understood his rights and that he had agreed to speak with the agents. On this record, I find that

Montgomery was adequately advised of his Sixth Amendment right to counsel and knowingly

and voluntarily waived it when he agreed to speak with the agents. See Yousef, 327 F.3d at 142

(statements made by defendant after indictment were not obtained in violation of the Sixth

Amendment when the defendant had received Miranda warnings, had voluntarily waived those

rights and had not invoked his right to counsel). Finally, as discussed above, I have concluded

that Montgomery made no statements prior to executing the Miranda waiver. Accordingly, it is

my recommendation that Montgomery’s motion to suppress statements on the grounds that they

were made in violation of his Sixth Amendment rights be denied.


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                                       CONCLUSION

              For the reasons stated above, I recommend that the district court deny

Montgomery’s motion to suppress statements made after his arrest on February 23, 2012.

(Docket # 312).

                                                      s/Marian W. Payson
                                                             MARIAN W. PAYSON
                                                          United States Magistrate Judge

Dated: Rochester, New York
       December 4 , 2013




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Pursuant to 28 U.S.C. § 636(b)(1), it is hereby

         ORDERED, that this Report and Recommendation be filed with the Clerk of the Court.

        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk
of this Court within fourteen (14) days after receipt of a copy of this Report and
Recommendation in accordance with the above statute and Rule 59(b) of the Local Rules of
Criminal Procedure for the Western District of New York.7

        The district court will ordinarily refuse to consider on de novo review arguments, case
law and/or evidentiary material which could have been, but was not, presented to the magistrate
judge in the first instance. See, e.g., Paterson-Leitch Co. v. Mass. Mun. Wholesale Elec. Co., 840
F.2d 985 (1st Cir. 1988).

       Failure to file objections within the specified time or to request an extension of such
time waives the right to appeal the District Court’s Order. Thomas v. Arn, 474 U.S. 140
(1985); Small v. Sec’y of Health & Human Servs., 892 F.2d 15 (2d Cir. 1989); Wesolek v.
Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

        The parties are reminded that, pursuant to Rule 59(b) of the Local Rules of Criminal
Procedure for the Western District of New York, “[w]ritten objections . . . shall specifically
identify the portions of the proposed findings and recommendations to which objection is made
and the basis for such objection and shall be supported by legal authority.” Failure to comply
with the provisions of Rule 59(b) may result in the District Court's refusal to consider the
objection.

        Let the Clerk send a copy of this Order and a copy of the Report and Recommendation to
the attorneys for the parties.

IT IS SO ORDERED.

                                                                   s/Marian W. Payson
                                                                          MARIAN W. PAYSON
                                                                       United States Magistrate Judge

Dated: Rochester, New York
       December 4 , 2013


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           Counsel is advised that a new period of excludable time pursuant to 18 U.S.C. § 3161(h)(1)(D)
commences with the filing of this Report and Recommendation. Such period of excludable delay lasts only until
objections to this Report and Recommendation are filed or until the fourteen days allowed for filing objections has
elapsed. United States v. Andress, 943 F.2d 622 (6th Cir. 1991); United States v. Long, 900 F.2d 1270 (8th Cir.
1990).

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